                       Case 3:21-cr-00106-RNC Document 1 Filed 04/12/21 Page 1 of 1
AO 91 Criminal Complaint5HYLVHG


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                    District District
                                                __________   of Connecticut
                                                                      of __________

                  United States of America                        )
                             v.                                   )
                     HECTOR TORRES
                                                                  )      Case No.
                                                                  )                 3:21MJ 360 (SDV)
                                                                  )
                                                                  )
                                                                  )
                           Defendant(s)


                                                CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of            11/11/2020 through 2/28/2021       in the county of                                        in the
                        District of        Connecticut        , the defendant(s) violated:

             Code Section                                                   Offense Description
Title 18, United States Code,                  Coercion and enticement of minors to engage in sexual activity
Section 2422(b)

Title 18, United States Code,                  Production of child pornography
Section 2251(a)




          This criminal complaint is based on these facts:
See attached affidavit of FBI Special Agent Brian Hanko, dated April 12, 2021, which is incorporated herein.




          ✔ Continued on the attached sheet.
          u

                                                                          BRIAN HANKO Digitally signed by BRIAN HANKO
                                                                                      Date: 2021.04.12 14:13:42 -04'00'

                                                                                             Complainant’s signature

                                                                                     Brian Hanko, FBI Special Agent
                                                                                              Printed name and title

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WHOHSKRQH VSHFLI\UHOLDEOHHOHFWURQLFPHDQV                                                            Digitally signed by S. Dave Vatti

Date:             04/12/2021
                                                                          S. Dave Vatti                  Date: 2021.04.12 14:46:34
                                                                                                         -04'00'
                                                                                                Judge’s signature

City and state:                    Bridgeport, Connecticut                    S. Dave Vatti, United States Magistrate Judge
                                                                                              Printed name and title
